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  1
      Scott Alan Burroughs (SBN 235718)
      scott@donigerlawfirm.com
  2   Frank R. Trechsel (SBN 312199)
  3   ftrechsel@donigerlawfirm.com
      DONIGER / BURROUGHS
  4   603 Rose Avenue
  5   Venice, California 90291
      Telephone: (310) 590-1820
  6
  7   Attorneys for Plaintiff

  8
                            UNITED STATES DISTRICT COURT
  9
                          CENTRAL DISTRICT OF CALIFORNIA
 10
 11   BERNHARD KÜHMSTEDT, an                             Case No.: 2:21-cv-10032-FWS-JEM
                                                         Hon. Fred W. Slaughter Presiding
 12   individual,

 13                                                      PLAINTIFF’S OPPOSITION TO
      Plaintiff,
                                                         DEFENDANT’S SECOND MOTION
 14                                                      TO DISMISS; REQUEST FOR
      v.
 15                                                      SANCTIONS PURSUANT TO 28
                                                         U.S.C. § 1927; AND LEAVE TO
 16   ENTTECH MEDIA GROUP, LLC, a
                                                         AMEND
      Delaware limited liability company d/b/a
 17   “PAPERMAG.COM”; and DOES 1-10,
                                               [Declaration of Frank R. Trechsel
 18   inclusive,
                                               filed concurrently herewith]
 19
                                                     Hearing Date: June 16, 2022
 20   Defendants.
                                                     Time:        10:00 pm
 21
                                                      Place:       411 West 4th Street
                                                                  Courtroom 10D
 22                                                               Santa Ana, CA 92701
 23
 24
 25
 26
 27
 28                                                  i
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  1      I. INTRODUCTION
  2         Defendant Enttech Media Group, LLC’s (“Enttech”)’s motion must be denied.
  3   The court has found Plaintiff, Bernhard Kuhmstedt’s, claims to be meritorious and
  4   the issues relating to the date of discovery of the infringement and secondary liability
  5   are adequately addressed in his amended complaint. Moreover, Enttech challenges
  6   venue here despite waiving that argument by not including it in its initial Motion to
  7   Dismiss. The instant motion comprises improper forum shopping and must be denied.
  8         Enttech’s failure to raise the issue of venue in its initial responsive pleading is
  9   inexcusable and this second attempt to remove and dismiss Kuhmstedt’s meritorious
 10   claim is a meritless and procedurally improper strategy employed by Enttech to avoid
 11   the plain reality that it is liable for copyright infringement.
 12         This is a clear case of willful copyright infringement. Enttech copied and
 13   displayed Kuhmstedt’s original photograph, as clearly illustrated by the exemplars of
 14   this infringement in the operative First Amened Complaint (“FAC”). Enttech’s first
 15   Motion to Dismiss (Dkt. 14) was denied in part and granted in part with leave for
 16   Kuhmstedt to amend to add factual allegations that support his second claim for
 17   vicarious or contributory liability and that support the applicability of the discovery
 18   rule. Dkt. 22. Kuhmstedt dismissed his second claim and provided allegations of his
 19   discovery of Enttech’s infringement no earlier than February 2021. Dkt. 24. Notably,
 20   Enttech’s February 25, 2022 Motion to Dismiss did not raise the issue of venue
 21   waiving any right to object to this case on those grounds.
 22         Not only should this motion be denied, but Enttech should be admonished
 23   (again) for its conduct in this matter. Enttech’s arguments are objectively frivolous.
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  1   Enttech’s counsel filed this frivolous motion unreasonably and vexatiously increasing
  2   the time and expense of this litigation in violation of 28 U.S.C. § 1927.1
  3          Kuhmstedt has sufficiently alleged venue is proper in this matter, and Enttech
  4   waived its ability to content venue when it failed to raise the defense in its initial
  5   Motion to Dismiss. Therefore, Enttech’s motion must be denied, and sanctions
  6   imposed pursuant to 28 U.S.C. § 1927.
  7       II. LEGAL STANDARD
  8          To survive a motion to dismiss, a complaint must contain merely a “short and
  9   plain statement of the claim showing that the pleader is entitled to relief.” Ashcroft v.
 10   Iqbal, 129 S. Ct. 1937 (2009) (quoting Fed. R. Civ. P. § 8(a)(2)). Detailed factual
 11   allegations are not required. Id. In deciding a motion to dismiss, all material
 12   allegations of the complaint are taken as true, and all reasonable inferences are drawn
 13   in Plaintiff’s favor. Cahill v. Liberty Mut. Ins. Co., 80 F.3d 336, 338 (9th Cir. 1996).
 14       III.   ARGUMENT
 15       A. Enttech waived its right to contest venue in this matter
 16          Enttech waived its venue argument by failing to include it in its first Fed. R.
 17   Civ. P. 12 motion, as was required. Am. Ass’n of Naturopathic Physicians v.
 18   Hayhurst, 227 F.3d 1104, 1106–07 (9th Cir. 2000), as amended on denial of reh'g
 19   (Nov. 1, 2000), citing Fed. R. Civ. P. 12(g), (h). The defense of “improper venue” is
 20   a Rule 12 defense and as such is waived when omitted from an initial Rule 12
 21   motion. Fed.R.Civ.P. 12(b)(3); see also Albany Ins. Co. v. Almacenadora Somex, 5
 22
      1
 23     A review of the dockets reveals that over the last seven years, Enttech’s law firm,
      Tauler Smith, has handled only four copyright cases, all on behalf of Enttech. In at
 24   least one other case, the firm’s conduct was called into question, with the Court
 25   “order[ing] ENTTech to show cause regarding sanctions under Rule 11.”
      ENTTech Media Grp. LLC v. Okularity, Inc., No. 2:20-CV-06298-JWH-EX, 2021
 26   WL 916307, at *2 (C.D. Cal. Mar. 10, 2021). This record further indicates the need
 27   for sanctions here.

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  1   F.3d [907] at 909–10 (5th Cir. 1993)(applying waiver to an available venue objection
  2   omitted from a prior motion to dismiss for improper venue). To be sure, “Rule 12(g)
  3   operates in conjunction with Rule 12(h) to require that all defenses permitted to be
  4   raised by motion, which are then available, must be included in the same motion[.]”
  5   OptoLum, Inc. v. Cree, Inc., No. CV-16-03828-PHX-DLR, 2017 WL 3130642, at *1
  6   (D. Ariz. July 24, 2017), quoting Bromfield v. McBurney, No. C07-5226RBL-KLS,
  7   2009 WL 674517, at *5 (W.D. Wash. Mar. 12, 2009). Defendant, in failing to include
  8   its venue argument in its first motion, waived that argument.
  9         The law is unequivocal: Rule 12(h) provides that a “defense of lack of
 10   jurisdiction over the person, improper venue, insufficiency of process, or
 11   insufficiency of service of process is waived ... if it is neither made by motion under
 12   this rule nor included in a responsive pleading....” Fed. R. Civ. P. 12(g), (h)(emphasis
 13   added). Rule 12(g) states that “[i]f a party makes a motion under this rule but omits
 14   therefrom any defense or objection then available to the party which this rule permits
 15   to be raised by motion, the party shall not thereafter make a motion based on the
 16   defense or objection so omitted....” Id.
 17         In response to Kuhmstedt’s initial Complaint, Enttech filed a Motion to
 18   Dismiss pursuant to Fed. R. Civ. P. 12(b)(6). See Dkt. 14, pg. i, 1-2. Enttech’s
 19   Motion was its responsive pleading for the purposes of waiver under Rule 12. (Dkt.
 20   14). In this pleading, Enttech asserted the defense of “failure to state a claim upon
 21   which relief can be granted” and did not assert the defense of lack of personal
 22   jurisdiction under Rule 12(b)(2) or improper venue under Rule 12(b)(3).
 23         The essence of Rule 12—embodied in the combined language of 12(g) and
 24   12(h)—is that a party “who by motion invites the court to pass upon a threshold
 25   defense should bring forward all the specified defenses [personal jurisdiction,
 26   improper venue, insufficient process, or insufficient service] he then has and thus
 27   allow the court to do a reasonably complete job.” Fed. R. Civ. P. 12 advisory
 28                                                3
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  1   committee's note, 1966 Amendment, subdivision (h). Thus, because Enttech raised a
  2   Rule 12 defense in its first filing to the court, it was obliged to raise all of those
  3   specified in Rule 12(h). However, Enttech failed to raise any venue argument in its
  4   initial Motion to Dismiss. (Dkt. 14). And a defendant “who does not initially raise
  5   certain [available] defenses—lack of personal jurisdiction, improper venue, improper
  6   process, and improper service of process—cannot invoke those defenses later on.”
  7   Paleteria La Michoacana v. Producto Lacteos, 905 F. Supp. 2d 189, 192 (D.D.C.
  8   2012). Therefore, Enttech’s motion must be denied.
  9       B. Jurisdiction and venue are proper in this Court
 10          Assuming arguendo Enttech did not waive its venue objection – it without a
 11   doubt did – its venue argument would still fail. Citing to no other authority than 28
 12   U.S.C. §1391(b) Enttech argues venue is improper because 1) Enttech does not reside
 13   in the California Central District; 2) the events or omissions giving rise to the action
 14   did not occur in this district; and 3) the case can be brought in the Southern District
 15   of New York. (Dkt. 27 pg. 3-4) However, these contentions are not supported by the
 16   facts or law.
 17          In copyright cases, venue is proper “in the district in which the defendant or his
 18   agent resides or may be found.” Autodesk, Inc. v. Kobayashi + Zedda Architects Ltd.,
 19   191 F. Supp. 3d 1007, 1021 (N.D. Cal. 2016) (citing 28 U.S.C. § 1400(a)). According
 20   to the Ninth Circuit, this language means that venue in a copyright case is proper “in
 21   any judicial district in which the defendant would be amenable to personal
 22   jurisdiction if the district were a separate state.” Brayton Purcell LLP v. Recordon &
 23   Recordon, 606 F.3d 1124, 1128 (9th Cir. 2010). The Court therefore must conduct
 24   the well-established personal jurisdiction analysis to determine whether venue is
 25   proper in this district.
 26          When faced with a motion to dismiss for lack of personal jurisdiction, the party
 27   claiming jurisdiction “bears the burden to establish jurisdictional facts.” In re Boon
 28                                                   4
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   1   Glob. Ltd., 923 F.3d 643, 650 (9th Cir. 2019) (citing Pebble Beach Co. v. Caddy, 453
   2   F.3d 1151, 1154 (9th Cir. 2006)). That party can carry its burden by making a prima
   3   facie showing of jurisdictional facts in response to a motion to dismiss. Brayton
   4   Purcell LLP v. Recordon & Recordon, 606 F.3d 1124, 1127 (9th Cir. 2010) (internal
   5   citation omitted).
   6         Courts may have either general or specific jurisdiction over a defendant.
   7   Goodyear Dunlop Tires Operations, S.A. v. Brown, 564 U.S. 915, 919 (2011).
   8         1. Enttech’s businesses in and contacts with California are sufficiently
   9             continuous and systematic to support the assertion of general personal
  10             jurisdiction
  11         The assertion of general personal jurisdiction over a non-resident defendant is
  12   appropriate when its “affiliations with the State are so ‘continuous and systematic’ as
  13   to render [it] essentially at home in the forum.” Mavrix Photo, Inc. v. Brand
  14   Technologies, Inc., 647 F.3d 1218, 1223 (9th Cir. 2011) (internal citations omitted).
  15   Once that is established, the court then considers whether the assertion of personal
  16   jurisdiction (general or specific) is reasonable. See W. Marine, Inc. v. Watercraft
  17   Superstore, Inc., No. C1104459, 2012 WL 479677, at *7 (N.D. Cal. Feb. 14, 2012)
  18   (internal citations omitted).2
  19         While a corporation’s “home” may be the place in which it is incorporated or
  20   headquartered, courts cannot deduce general jurisdiction from that alone. L.A. Gem &
  21   Jewelry Design, Inc. v. Ecommerce Innovations, LLC, No. CV 16-9325, 2017 WL
  22   1535084, at *4 (C.D. Cal. Apr. 27, 2017). Instead, courts examine “all Defendants’
  23   activities impacting the state,” including “whether the defendant makes sales, solicits
  24   or engages in business in the state, serves the state’s markets, designates an agent for
  25
  26   2
         As discussed supra, Section III.A.3, Defendants cannot make a compelling case that
  27   the assertion of personal jurisdiction in this Court would be unreasonable.

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   1   service of process, [or] holds a license.” Id. at *5 (internal citations omitted); see also
   2   Mavrix Photo, 647 F.3d at 1223–24 (internal citations omitted) (explaining
   3   consideration of a defendant’s “[l]ongevity, continuity, volume, economic impact,
   4   physical presence, and integration into the state”); West Marine, 2012 WL 479677 at
   5   *4 (considering percentage of sales in the state).
   6         In West Marine, the court held that the totality of defendant’s contacts with
   7   California—(1) maintaining a website accessible to Californians, (2) generating 7.4%
   8   of all sales ($300,000) over a three-year period in California, (3) entering into
   9   contracts with non-parties in California, (4) sending catalogs and mailing lists to
  10   consumers in California, and (5) advertising to Californians and maintaining
  11   advertising relationships with California-based companies—were continuous and
  12   systematic. See id. at *5-7. The court’s finding of general jurisdiction in Coremetrics,
  13   Inc. v. Atomic Park.com, LLC, 370 F. Supp. 2d 1013, 1017-24 (N.D. Cal. 2005) was
  14   similarly based. Based on West Marine and Coremetrics, the assertion of general
  15   personal jurisdiction over Defendants is warranted here.
  16         First, Defendant’s incorrectly claim that their website is “operated and
  17   managed in New York, New York” and thus no activities occurred in this district.
  18   (see Dkt. 27 at 4:1-3). From a cursory review of Enttech’s website they solicit end
  19   users to comment on their content, subscribe to Enttech’s Papermag newsletters, and
  20   follow their social media pages (Declaration of Frank R. Trechsel (“Trechsel Decl.”)
  21   at ¶1) which Enttech presumably then use to match consumers with the demographics
  22   that the advertisers on www.papermag.com want to target (which in turn generates
  23   revenue for Enttech). Thus, Enttech’s website is interactive. See Quigley v. Guvera IP
  24   Pty Ltd., No. C1003569, 2010 WL 5300867, at *3 (N.D. Cal. Dec. 20, 2010) (holding
  25   a website requiring users to enter their contact information to gain access to
  26   information, which was then sold to advertisers, was interactive); Am. Auto. Ass'n,
  27   Inc.v. Darba Enters., Inc., No. C.09–00510, 2009 WL 1066506, at *4 (N.D. Cal. Apr.
  28                                                6
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   1   21, 2009) (finding that defendant “profited when California users entered their
   2   contact information in his website, even though he did not sell anything to them
   3   directly”).3
   4          Second, Enttech’s aggregate business in California is continuous and
   5   systematic. Enttech owns and operates www.papermag.com, which feature hundreds
   6   of pages of content and articles about California-specific events, issues, and news.4
   7   Trechsel Decl. at ¶2. Papermag.com also features paid advertisements targeted to
   8   California residents. Trechsel Decl. at ¶4, Ex. 1, 3. For example, in Exhibit 3 to
   9   Trechsel’s Declaration filed concurrently herewith there is an advertisement for
  10   CalRecycle stating “Californians recycle smarter.” Trechsel Decl. at ¶4, Ex 3. Exhibit
  11   1 of Trechsel’s Declaration also features an advertisement for ActionButton which
  12   specifically offers the viewer to “Let Rep. Sherman (CA-30) and Sen. Feinstein (D-
  13   CA) know where you stand on policies to address sexual violence & abuse.” Id. This
  14   advertisement is aimed at California residents represented by these specific state and
  15
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         The Ninth Circuit assesses website interactivity based on the Zippo “sliding scale.”
       A fully “passive” website is one that “does little more than make information
  18   available to those who are interested in it,” whereas an “interactive” website is one
  19
       through which “the defendant enters into contracts with residents of a foreign
       jurisdiction . . . ” Amini Innovation Corp. v. JS Imports, Inc., 497 F. Supp. 2d 1093,
  20   1103–04 (C.D. Cal. 2007). When a website falls somewhere in between, the assertion
  21   of personal jurisdiction depends on the nature and quality of commercial activity that
       an entity conducts over the internet. See id.
  22   4
         Non-exclusive exemplars of these articles include “California Makes ‘Stealthing’
  23   During Sex Illegal,” https://www.papermag.com/california-stealthing-ban-
       2655285200.html “California Bill Seeks Gender-Neutral Store Displays for Kids,”
  24   https://www.papermag.com/california-bill-gender-neutral-2654887507.html “The LA
  25   Brand Bringing ‘Malibu Sleaze’ to Fashion,” https://www.papermag.com/ace-sex-
       doll-2656335239.html and “Drakeo the Ruler Fatally Stabbed at LA Consert”
  26   https://www.papermag.com/drakeo-the-ruler-stabbing-death-
  27   2656070370.html?rebelltitem=3#rebelltitem3. Trechsel Decl. at ¶3, Ex. 1-4.

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   1   federal representatives. Enttech’s website is hosted in California (see Trechsel Decl.
   2   at ¶5, Ex. 5-8), the URL http://www.papermag.com corresponds to three Internet
   3   Protocol Addresses 104.26.4.57, 104.26.5.57, and 172.67.71.122 which are all hosted
   4   in San Francisco, California. Trechsel Decl. at ¶5, Ex. 5-8.
   5         Enttech’s exploitation of the California market is not happenstance—Enttech
   6   maintains a “Terms and Conditions” page on its website that enumerates the
   7   “California Privacy Rights and Preferences” of California residents specifically.
   8   Trechsel Decl. at ¶6, Ex. 9. Further, Enttech has appeared before this Court
   9   (represented by the same counsel) at least once to litigate nearly identical copyright
  10   infringement claims on the merits.5 Enntech does not raise or discuss any of its
  11   contacts or affiliations with the state of California or the Central District relying
  12   instead on the most cursory statement that its headquarters is in New York because
  13   even the most surface examination of the facts reveals California and the Central
  14   District is an appropriate venue.
  15         All told, asserting general personal jurisdiction over Defendants is warranted
  16   because they are essentially “at home” in California.
  17         2. Alternatively, Defendants are subject to specific personal jurisdiction
  18             here because they purposefully direct their activities to California.
  19         Alternatively, because the complained-of infringements in the FAC occurred
  20   on websites purposefully directed to California and its residents, the exercise of
  21   specific personal jurisdiction over Enttech in connection therewith is proper.
  22         Asserting specific jurisdiction over a non-resident defendant is proper when (1)
  23   the defendant purposefully directs his activities at, or consummates some transaction
  24
  25
  26   5ENTTech Media Grp. LLC v. Okularity, Inc., No. 2:20-CV-06298-JWH-EX, 2021
  27   WL 916307, at *2 (C.D. Cal. Mar. 10, 2021).

  28                                                8
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   1   with, the forum or resident thereof;6 (2) the claim arises out of or relates to the
   2   defendant’s forum-related activities; and (3) the exercise of jurisdiction is reasonable.
   3   Mavrix Photo, 647 F.3d at 1227-28. Once the plaintiff carries the burden on the first
   4   two prongs, the defendant must make a “compelling case” that asserting jurisdiction
   5   would be unreasonable. Id. (internal citations omitted).
   6         Enttech again does not argue it is not subject to specific personal jurisdiction
   7   because it applied an improper analysis to contest venue in this matter. to its do not
   8   even bother to specifically address the above factors. See generally Dkt. 27 at 2-4.
   9   Nonetheless, only the “purposeful direction” prong truly requires this Court’s
  10   attention. A defendant “purposefully directs” its activities at the forum when the
  11   defendant (1) commits an intentional act, (2) expressly aimed at the forum state, (3)
  12   causing harm it knows is likely suffered in the forum state. Id. at 1228 (internal
  13   citations omitted). As to the second prong, Kuhmstedt’s copyright infringement
  14   claims arise out of Enttech’s display of the Subject Photograph on a website
  15   accessible to end users in California. Mavrix Photo, 647 F.3d at 1228. And as to the
  16   third prong and as discussed supra, Section III.B.3, Enttech cannot make a
  17   compelling case that the assertion of personal jurisdiction in this Court would be
  18   unreasonable.
  19         Here, Enttech purposefully directed their website to California.
  20               i.   Defendants committed intentional acts.
  21         Enttech displayed unauthorized copies of the Subject Photograph on its
  22   website. (See Dkt. 24.) Doing so is an “intentional act.” See Mavrix, 647 F.3d at
  23   1229; Brayton Purcell, 361 F. Supp. 2d at 1142; Warner Bros. Ent. v. Free-TV-
  24
  25   6
         In copyright infringement (i.e., tort) cases, courts employ a purposeful direction
  26   (instead of a purposeful availment) analysis. Mavrix Photo, 647 F.3d at 1228
  27   (internal citations omitted).

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   1   Video-Online.Info, No. CV088484, 2009 WL 10673279, at *4 (C.D. Cal. June 24,
   2   2009); Friedman v. PopSugar, Inc., No. 218CV05888, 2018 WL 6016963, at *7
   3   (C.D. Cal. Oct. 29, 2018); Evony, LLC v. Feng Inv., Ltd., No. CV1100141, 2014 WL
   4   12658954, at *4 (N.D. Cal. May 21, 2014), report and recommendation adopted sub
   5   nom. Evony, LLC v. Aeria Games & Ent., Inc., No. C 11-0141, 2014 WL 12658953
   6   (N.D. Cal. June 12, 2014); Nat'l Photo Grp. v. Fort Wayne Radio Corp., No.
   7   CV1209152, 2013 WL 12147598, at *2 (C.D. Cal. Feb. 11, 2013); TVB Holdings
   8   (USA), Inc. v. Chau, No. CV1301492, 2014 WL 12580009, at *4 (C.D. Cal. Jan. 27,
   9   2014); Scott v. Domus Constr. & Design, Inc., No. 321CV00623, 2021 WL 5505888,
  10   at *7–8 (S.D. Cal. Nov. 24, 2021).
  11              ii.   Enttech expressly aimed their websites at California.
  12         Where a website with national viewership and scope appeals to, and profits
  13   from, a California audience, the site’s operators “expressly aimed” at California. See
  14   Mavrix Photo, 647 F.3d at 1231. That is why, even if such a website is “passive,” it
  15   does the “something more” that justifies the assertion of specific personal jurisdiction
  16   when it, inter alia, encourages California residents to access the website and/or earns
  17   income from them. See Shuffle Master, Inc. v. Kardwell Int’l, Inc., No. 212CV8271,
  18   2013 WL 12126745, at *4 (C.D. Cal. Apr. 23, 2013). Even though this standard “may
  19   impose [a burden] on some popular [] websites,” the alternative—that a website
  20   owner can only be sued in the state(s) in which it is incorporated or headquartered—
  21   “would allow corporations whose websites exploit a national market to defeat
  22   jurisdiction in states where those websites generate substantial profits from local
  23   consumers,” and as a result undermine the “interests . . . of the plaintiff in proceeding
  24   with the cause in the plaintiff’s forum of choice.” Mavrix Photo, 647 F.3d at 1231
  25   (internal citations omitted).
  26         The decision in Mavrix Photo, 647 F.3d at 1230, held that defendant
  27   “continuously and deliberately exploited” the California market because (1)
  28                                               10
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   1   defendant made money by selling advertising space on its website; (2) hits to that site
   2   came from California residents; (3) some of the third-party advertisers had
   3   advertisements directed to Californians; and (4) the popular website had “a specific
   4   focus on the California-centered celebrity and entertainment industries.” See id.
   5   (emphasis added). Thus, the Ninth Circuit held that the defendant “anticipated,
   6   desired, and achieved” a California viewer base. Id.
   7         Mavrix is nearly indistinguishable from, and its holding has been applied
   8   extensively to, cases just like this one.7 That authority compels the conclusion that
   9   Enttech expressly aimed their website at California. Indeed, as noted above,
  10   www.papermag.com contains content about California, taking place in California,
  11   and/or designed to entertain and inform its California audience, and feature and host
  12   paid advertisements targeted to California end users. Trechsel Decl. ¶¶1-6, Ex. 1-8.
  13   Further, the “Terms and Conditions” governing Defendants’ Websites even
  14   enumerates the “California Privacy Rights” of California residents specifically.
  15   Trechsel Decl. at ¶6, Ex. 9. And as the cherry on top, the IP Address associated with
  16   Enttech’s website is hosted in California by San Francisco-based Cloudflare, Inc.
  17   Trechsel Decl. at ¶5, 5-8. Based on that totality, Defendants do not (and cannot
  18   genuinely) characterize the consumption of their website in California as random,
  19   fortuitous, or attenuated. Mavrix Photo, 647 F.3d at 1230. Quite the opposite, it is a
  20
  21   7
         See, e.g., Warner Brothers, 2009 WL 10673279 at *4; Friedman, 2018 WL
  22   6016963 at *7-8; National Photo Group, 2013 WL 12147598 at *2-3; Adobe Sys. Inc.
  23   v. Childers, No. 5:10-CV-03571, 2011 WL 566812, at *3–5 (N.D. Cal. Feb. 14,
       2011); Scott, 2021 WL 5505888 at *9, 13; McElroy v. Schornstein, No. 12CV0536,
  24   2013 WL 12092057, at *2 (S.D. Cal. Mar. 25, 2013); Hubb Sys., LLC v. microDATA
  25   GIS, Inc., No. C072677, 2007 WL 2221077, at *2–4 (N.D. Cal. Aug. 2, 2007);
       Loomis v. Slendertone Distribution, Inc., 420 F. Supp. 3d 1046, 1068–70 (S.D. Cal.
  26   2019); Stross v. NextLuxuryDotCom LLC, No. 2:21-cv-01181, Dkt. 62 at 10-12 (C.D.
  27   Cal. Nov. 17, 2021); Quigley, 2010 WL 5300867 at *4.

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   1   predictable consequence of Defendants’ exploitation of the California market. That is
   2   “express aiming.”
   3         Therefore, Defendants expressly aimed their websites at California.
   4             iii.   Enttech caused harm they knew was likely suffered in California
   5         Enttech also does not address this prong. Even if they did, though, the result is
   6   the same: the unauthorized display of the Subject Photograph on Enttech’s website
   7   which is purposefully directed to California, likely caused harm here.
   8         Again, the Ninth Circuit’s decision in Mavrix Photo, 647 F.3d at 1231 is
   9   instructive. There, the panel held that the defendant caused harm it knew was likely
  10   suffered in California by republishing the celebrity photo at issue, thereby interfering
  11   with plaintiff’s exclusive ownership of the photos and harming its market value. Id.
  12   The panel further held that it was foreseeable that the economic loss would be
  13   inflicted here (not just in Florida, the location of plaintiff’s headquarters). Id. As the
  14   panel explained: “Because Brand’s actions destroyed this California-based value, a
  15   jurisdictionally significant amount of Mavrix’s economic harm took place in
  16   California.” Id. at 1231-32. Thus, Mavrix Photo teaches that jurisdictionally
  17   sufficient harm is suffered where the infringement is accessible, and that the
  18   economic loss caused by copyright infringement is foreseeable.8 Id.
  19         Consequently, by displaying unauthorized copies of the Subject Photograph on
  20   Enttech’s website, Enttech interfered with Kuhmstedt’s exclusive ownership and
  21   reproduction rights of the Photograph and harmed his California-based, celebrity and
  22   entertainment-driven market value that depends on exclusivity of use. The economic
  23   loss—being deprived of core licensing revenues while Enttech’s website used (and
  24
  25   8
        See also Friedman, 2018 WL 6016963 at *9; Evony, 2014 WL 12658954 at *4;
  26   National Photo Group, 2013 WL 12147598 at *3; Stross, No. 2:21-cv-01181, Dkt. 62
  27   at 12.

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   1   provided end users with) free substitutes—was foreseeable. Thus, given the
   2   significant readership (including California readership) of Enttech’s website, a
   3   jurisdictionally sufficient amount of Kuhmstedt’s economic harm took place here.
   4         3. Enttech cannot make a compelling case that the assertion of personal
   5             jurisdiction would be unreasonable here
   6         Reasonableness is determined by examining (1) the extent of purposeful
   7   interjection, (2) the burden on the defendant to defend the suit in the chosen forum,
   8   (3) the extent of conflict with the sovereignty of the defendant’s state, (4) the forum
   9   state’s interest in the dispute, (5) the most efficient forum for judicial resolution of
  10   the dispute, (6) the importance of the chosen forum to the plaintiff’s interest in
  11   convenient and effective relief, and (7) the existence of an alternative forum
  12   (collectively, the “Burger King factors”). Id. (internal citations omitted). The burden
  13   is proving unreasonableness is on the defendant. Coremetrics, Inc. v. Atomic
  14   Park.com, LLC, 370 F. Supp. 2d 1013, 1024 (N.D. Cal. 2005).
  15         There is a presumption that jurisdiction is reasonable when the other prongs of
  16   the jurisdictional analyses (general or specific) are met. See, e.g., Brayton Purcell,
  17   361 F. Supp. 2d at 1143-44 (holding exercise of jurisdiction reasonable because (1)
  18   defendant “interjected itself into this forum [] by virtue of publishing copyrighted
  19   material in its passive website,” (2) “[t]he place and course of discovery will not be
  20   affected by venue,” (3) participation of principals would “likely be limited to
  21   mediation and trial,” and (4) defendant could “retain local counsel”); National Photo
  22   Group, 2013 WL 12147598, at *3–4 (finding exercise of jurisdiction reasonable
  23   because “Defendant’s website appears to target the forum state,” “being haled into
  24   court in California does not unfairly burden Defendant due to modern technological
  25   advances allowing for e-filing and telephonic appearances,” and “much of the
  26   evidence, including the photographs in question, are available online”); West Marine,
  27   2012 WL 479677 at *7; Coremetrics, 370 F. Supp. 2d at 1024-25 (holding assertion
  28                                               13
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   1   of general jurisdiction reasonable because (1) defendant “sufficiently injected itself
   2   purposefully into California’s affairs through the volume and frequency of its sales to
   3   California consumers,” (2) given that interjection, “California has a more than
   4   passing interest in the instant litigation,” and (3) “the burden on AtomicPark in
   5   defending in California is not overwhelming or disproportionate given today’s state
   6   of communications and transportation”).
   7         Enttech fails to meet its burden here because it did not even bother to engage in
   8   the appropriate jurisdictional analysis. Therefore, Enttech seems to ignore the Burger
   9   King factors altogether, and falls well short of the “compelling case” standard for that
  10   reason alone. See Mavrix Photo, 647 F.3d at 1228. Even so, the assertion of personal
  11   jurisdiction here is reasonable.
  12         First, Enttech interjected itself into California through its aggregate business in
  13   California and their purposeful direction of it’s website to California (including
  14   displaying unauthorized copies of the Subject Photograph thereon).
  15         Second, Enttech has been represented in this judicial district by Defendants’
  16   current counsel of record in at least one prior cases, and offers no real support to
  17   their argument that they would be burdened by litigating in this district. The place
  18   and course of discovery will not be affected by venue, and the evidence in this case is
  19   largely online (i.e., Enttech’s website and the Subject Photograph) and will be stored
  20   and exchanged electronically; not to mention, e-filing procedures and telephonic
  21   hearings are available in the event any discovery disputes require this Court’s
  22   involvement). Participation of the parties’ principals will be limited to depositions,
  23   mediation, and trial. There is no indication that all or even most of Enttech’s
  24   employees would be called as witnesses or required to attend any proceedings. And
  25   depositions and mediation will most likely be conducted via videoconference.
  26   Ultimately, Enttech’s argument is little more than a “forum shopping” accusation.
  27   That does not satisfy the requisite burden.
  28                                                 14
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   1           Third, there is no conflict of laws issue. Copyright law is federal law.
   2           Fourth, given the Enttech’s interjection into California, California has an
   3   interest in this litigation.9
   4           Fifth, Defendants offer no reason why litigating elsewhere (in a hypothetical
   5   alternate forum not identified by Defendants in this section) would be the most
   6   efficient means for judicial resolution of this case.
   7           Sixth, Enttech fails to explain why Kuhmstedt’s interest in obtaining
   8   convenient and effective relief in this Court, its chosen forum, should be disregarded.
   9           And Seventh, Enttech only offers the Southern District of New York as an
  10   alternative forum, but, “the presence of an alternate forum does not overcome
  11   reasonableness established by the other factors.” West Marine, 2012 WL 479677 at
  12   *7. Further, Enttech’s counsel Robert Tauler is not barred in the state of New York
  13   and a transfer would require counsel for both parties to request admittance pro hac
  14   vice.
  15           In sum, Enttech have failed to present a “compelling case” that the exercise of
  16   personal jurisdiction over them would be unreasonable. As a result, personal
  17   jurisdiction over Enttech is warranted and reasonable, venue is proper here, and this
  18   Court should deny Enttech’s Motion.
  19       C. Kuhmstedt’s case should not be dismissed
  20           The true intent of Enttech’s motion is revealed on page four of its motion
  21   where it states, “The Case Should be Dismissed.” Dkt. 27 pg. 4. Enttech does not
  22   have any credible argument to dispute liability or venue for that matter. However, it
  23
  24   9
         Kuhmstedt’s location is irrelevant to this analysis. See West Marine, 2012 WL
  25   479677 at *5 (“This court knows of no authority or policy justification for such a
       comparative analysis. Rather, it is [defendant’s] contacts with California that are at
  26   issue, irrespective of whether those contacts dwarf or are dwarfed by the contacts that
  27   plaintiff has with the forum state.”).

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   1   now makes one last ditch effort to dismiss this action before facing its own liability,
   2   arguing that “transfer is futile since the case will be dismissed even after transfer to
   3   the Southern District of New York.” Dkt. 27 pg. 5:11-12. This argument is
   4   demonstrably false.
   5         Presenting literally no factual basis for its position, Enttech posits that
   6   “Plaintiff cannot show any recoverable damages in this case from 2019 to 2022, the
   7   only three years where any “profits” can be recouped.” Dkt. 27 pg. 5:19-20. And then
   8   states this lack of damages warrants dismissal. Dkt. 27 pg. 5:24-26. However, this
   9   argument displays a truly remarkable refusal to engage with and comprehend the
  10   applicable copyright law governing this action.
  11         First, Kuhmstedt is not limited to profits from the three years preceding the
  12   institution of this action. The Copyright Act permits “damages occurring outside of
  13   the three-year window, so long as the copyright owner did not discovery – and
  14   reasonably could not have discovered – the infringement before the commencement
  15   of the three-year limitation period.” Polar Bear Productions, Inc. v. Timex Corp. 384
  16   F.3d 700, 706 (9th Cir. 2004). Because Kuhmstedt did not discover Enttech’s
  17   infringement until within three years of filing suit (Dkt. 24. Para. 16), Kuhmstedt
  18   may recover damages for infringement that occurred outside of the three-year
  19   window. Id. Therefore, Enttech’s unsupported position that Kuhmstedt will be unable
  20   to prove “profits” for the last three years is not the proper analysis. Kuhmstedt is
  21   entitled to all profits earned by Enttech from the beginning of its infringement, and a
  22   determination on that amount must be made after trial and not based merely on the
  23   word of Enttech’s counsel.
  24         Second, even if there were no “profits” to be earned as damages, Kuhmstedt is
  25   also entitled to his own lost profits in the form of lost license ad renewal fees. See,
  26   Polar Bear, at 708. This measure of damages is again ignored by Enttech who
  27   discuss only their own profits which would be disgorged to Kuhmstedt.
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   1         Given these viable and demonstrable avenues to damages in this case,
   2   Kuhmstedt’s case is neither frivolous or likely to be dismissed upon transfer.
   3   Therefore, Enttech’s request for dismissal must be denied.
   4      D. Enttech’s conduct warrants sanctions pursuant to 28 U.S.C. § 1927
   5         Enttech’s counsel has conducted himself in an unreasonable and vexatious
   6   manner, leading to the waste of judicial resources and multiplying the proceedings.
   7   The venue argument was without a doubt waived and in bringing this motion
   8   Defendant has filed papers that are not supported by the law or an argument for an
   9   extension of the law.
  10         Title 28 U.S.C. § 1927 provides that “[a]ny attorney . . . who so multiplies the
  11   proceedings in any case unreasonably and vexatiously may be required by the court
  12   to satisfy personally the excess costs, expenses, and attorneys’ fees reasonably
  13   incurred because of such conduct.” See Pac. Harbor Capital, Inc. v. Carnival Air
  14   Lines, Inc., 210 F.3d 1112, 1117 (9th Cir. 2000) (“Section 1927 authorizes the
  15   imposition of sanctions against any lawyer who wrongfully proliferates litigation
  16   proceedings once a case has commenced.”). Sanctions under § 1927 may be imposed
  17   when: (1) the attorney unreasonably multiplied the proceedings; (2) the attorney’s
  18   conduct was unreasonable and vexatious; and (3) the conduct caused an increase in
  19   the cost of the proceedings. See 28 U.S.C. § 1927; B.K.B. v. Maui Police Dep't, 276
  20   F.3d 1091, 1107 (9th Cir. 2002). For sanctions to apply under § 1927, the court must
  21   make a determination of recklessness. See Fink v. Gomez, 239 F.3d 989, 993 (9th Cir.
  22   2001) (holding that “recklessness suffices for § 1927” sanctions).
  23         In addition, federal “courts have inherent power to [enter sanctions] . . . when a
  24   party has... engaged in conduct utterly inconsistent with the orderly administration of
  25   justice.” Fjelstad v. Am. Honda Motor Co., Inc., 762 F.2d 1334, 1338 (9th Cir. 1985);
  26   see Unigard Sec. Ins. Co. v. Lakewood Eng’g & Mfg. Corp., 982 F.2d 363, 368 (9th
  27   Cir. 1992) (“Courts are invested with inherent powers that are ‘governed not by rule
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   1   or statute but by the control necessarily vested in courts to manage their own affairs
   2   so as to achieve the orderly and expeditious disposition of cases.’”). This inherent
   3   power is not limited by overlapping statutes or rules. See Chambers v. NASCO, Inc.,
   4   501 U.S. 32, 49 (1991) (“[T]he inherent power of a court can be invoked even if
   5   procedural rules exist which sanction the same conduct.”). The court has inherent
   6   power to impose monetary sanctions when an attorney has “acted in bad faith,
   7   vexatiously, wantonly, or for oppressive reasons.” Id. at 45-46, 111 S.Ct. at 2133.
   8         Sanctions are warranted here. Enttech’s counsel has already been sanctioned
   9   by Judge Wilson, who found that Enttech’s counsel’s conduct was an
  10   “embarrassment to the profession” and noting other disciplinary issues that had arisen
  11   in a Texas case. See Dkt. 22, pgs. 8-10. Despite this admonishment, Enttech has filed
  12   a motion arguing for relief that is clearly and wholly precluded by the Federal Rules.
  13   Indeed, Enttech’s counsel knows that he waived the venue issue and during the meet-
  14   and-confer process did not present Kuhmstedt’s counsel with any authority that the
  15   argument could be raised at this stage in the litigation.10 Trechsel Decl. at ¶7.
  16         This wholly improper conduct resulted in a substantial and unfortunate amount
  17   of time being wasted by Kuhmstedt, his counsel, and the Court. Sanctions are
  18   warranted and Kuhmstedt respectfully requests that the Court set an Order to Show
  19   Cause re Sanctions to address this matter.11
  20
       10
  21      Enttech’s bad faith was not limited to failing to provide any supporting authority
       during the meet and confer process. Indeed, after Kuhmstedt filed his opposition to
  22   Enttech’s initial Motion to Dismiss, Enttech’s counsel sent numerous unprofessional
  23   emails, including threats that he would be an “enemy for life” for Kuhmstedt’s
       counsel. Trechsel Decl. at ¶8, Ex. 10. These unprofessional emails came after the
  24   litany of improper communications that were submitted to the court accompanying
  25   Kuhmstedt’s initial opposition and addressed in great detail by the Court in its April
       11, 2022 Order. Dkt. 22.
  26   11
          As noted above, this would represent the second such Order to Show Cause in the
  27   four copyright cases handled by Tauler Smith over the last seven years.

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   1         E. Should this Court find Kuhmstedt’s allegations in support of personal
   2             jurisdiction deficient, this Court should grant Kuhmstedt targeted
   3             jurisdictional discovery or leave to amend.
   4         Because Enttech are subject to personal jurisdiction here, and because Enttech
   5   did not clearly show that transfer is warranted, their Motion should be denied.
   6   However, should this Court find the factual allegations and evidence insufficient on
   7   either point, Kuhmstedt respectfully requests that it (1) defer its ruling until
   8   Kuhmstedt can conduct targeted jurisdictional discovery into, over the last five years,
   9   the number of California users of Enttech’s website, the revenue generated by those
  10   users, Enttech’s monetization of the information garnered from end users of Enttech’s
  11   website subscribing to Enttech’s Papermag’s newsletters, and Enttech’s relationships
  12   with local advertisers; and then (2) allow Kuhmstedt to amend the FAC to include
  13   even more detailed factual allegations based on that jurisdictional discovery. See Fed.
  14   R. Civ. P. 15(a) (leave to amend a complaint that has been dismissed should be freely
  15   granted unless it is clear the complaint could not be saved by any amendment); O.T.
  16   v. Babybjorn AB, No. 2:20-CV-04517, 2021 WL 4861447, at *5 (C.D. Cal. Sept. 8,
  17   2021) (granting leave to amend FAC).
  18      IV.    CONCLUSION
  19         Because Enttech failed to raise its defense of improper venue in its February
  20   25, 2022 Motion to Dismiss it waived its ability to bring the instant motion and it
  21   should be denied. Should the Court find for any reason Enttech did not waive that
  22   right, the facts show Enttech’s purposefully directed its conduct to California
  23   sufficient to warrant personal jurisdiction and consequently proper venue in the
  24   California Central District. Denial is therefore appropriate on those grounds as well.
  25   Finally, Enttech’s position that the case should be dismissed in its entirety is flawed
  26   both legally and factually and should also be denied and sanctions awarded to
  27   Kuhmstedt.
  28                                               19
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                                             Respectfully submitted,

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       Dated: May 26, 2022            By:    /s/ Frank R. Trechsel
   3                                         Scott Alan Burroughs, Esq.
   4                                         Frank R. Trechsel, Esq.
                                             DONIGER / BURROUGHS
   5                                         Attorneys for Plaintiff
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                             OPPOSITION TO DEFENDANT’S MOTION TO DISMISS
